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TURN OVER FOR IMPORTANT INFORMATION NSN 7540-01-333.6238

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DEPARTMENT OF DEFENSE NATIONAL SECURITY PERSONNEL SYSTEM (NSPS) ci
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PERFORMANCE APPRAISAL Oe
EMPLOYEE NAME: warris, Raverley M APPRAISAL YEAR: 2010
PRIVACY ACT STATEMENT
AUTHORITY: 5 U.S.C, 9901-9902; and E.0. 9397.
PRINCIPAL PURPOSE(S): This form will be completed by employees, rating officials, and managers to document the job objectives,
and interim, closeout, and annual assessment requirements of ihe Natlonal Security Personnol System.
Bone USE(S): The DoD "Blanket Rouline Uses" set forth at the beginning of OSD's compilation of system of records notices
apply.
DISCLOSURE: Voluntary.
INSTRUCTIONS FOR GOMPLETION OF NSPS PERFORMANCE APPRAISAL FORM
Cover Sheet: Complete the employee's name (Lasl, First, Middle Initiel) and the appraisal year (year portion of the appraisal
effective date),
PART A - Administrative Data.
1. Employee Name: Name of the employee (last, first, middle Initial),
2. Social Security Number: Enter last 4 digits of the SSN.
3. Posilion Title: Enter the title of the employee's position as of the appraisal peviod start date.
4, Pay Schedule/Occupational Code/Pay Band: Enler the employee's pay schedule, occupational cade, and pay band as of the
appraisal period start data.
5. Organization: Enter the name of the employee's organization.
6. Pay Band Range and Base Salary: Rango of pay band for position employee encumbers and employee's salary as of the date
this form was generated or the appraisal period end dale, whichever Is earller. , ‘
7, Duty Station; Enter the duty station where the employee works.
8. Pay Pool ID: Enter tha employee's pay pool identification number.
9. Appraisal Period: Enter the start dale and the end date of the evatuation period. Typically this is the rating cycle start and end
date: however, these dales can vary.
10. Appraisal Effective Date: Enter the effective date of the appraisal (typically 1 January).
PART 8 - Performance Appralsal Documentation.
To be completed by all parties as appropriate to document the establishment of job objectives and contribuling factors, interim
review, closeout assessment, and annual assessment as required. This Information will auto-populate when the form is generated
from the Performance Appraisal Application (PAA). The gray blocks will not be auto-populated as this information is not
documented in the PAA, and the Information is not required by DoD pollcy. Component or local policy may require the completion
of thase fields.
PART C - Performance Rating and Compensation Summary.
Rating computations are based on job objective weighl, raling, and contributing factor impact.
PART D - Relevant Organizational Misslon/Strategic Goals.
Organizational Mission and Strategic Goals as they apply to an employee's performance,
PART E - Performance Indicators.
Performance Indicators are general descriptions of levels or thresholds of employee performance used lo measure, evaluate, and
score an employee's achievement of his/her job objectives. This information will aulo-populate when form is generated from the
Performance Appraisal Applicallon (PAA).
PART F - Component Unique Information.
Reserved for Component use. :
PART G - Job Objectives, Contributing Factors, Assessments.
Complete this section to document job objectives, contributing factors, and the corresponding employae and rating official
assessments, This page should he duplicated for each job abjective and type of assessment. When completing an assessment,
mark {X) in the box to indicate the type of assessment (e.g., interim or annual). Whan muliiple assessments are given during Iho
year (6.g., interim assessment and annual assessment), duplicate each objective page for each new type of assessment. Only one
type of assessment should be documented on each page. When multiple interim reviews or closeouts are documented, indicate the
interim/closeaul number undor the appropriate checkbex (e.g., 1 of 2).
Cover Shect

DD FORM 2906, SEP 2008 PREVIOUS EDITIONS MAY BE USED UNTIL MAR 2009. Aainto Designee 7.0

